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 7                                IN THE UNITED STATES DISTRICT COURT

 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,
                                                                 CASE NO. 2:11-CR-0504 WBS
11                                      Plaintiff,
                                                                 STIPULATION AND ORDER TO
12 v.                                                            CONTINUE HEARING ON
                                                                 DEFENDANT’S APPEAL OF THE
13 JEWEL L. HINKLES,                                             MAGISTRATE ORDER ENTERED
   aka Cydney Sanchez, et al.,                                   ON DECEMBER 6, 2012
14
                                        Defendants.
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16
             Counsel for the United States of America, Lee S. Bickley, and counsel for defendant
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     Jewel Hinkles, Jerome Kaplan, Esq., hereby stipulate as follows:
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                  1. On December 6, 2012, Magistrate Judge Edmund F. Brennan signed a detention
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                      order revoking defendant Jewel Hinkles’ pretrial release.
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                  2. On December 6, 2012, the defendant Jewel Hinkles appealed that order and
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                      requested an emergency stay.
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                  3. By order dated December 6, 2012, Judge William B. Shubb denied the stay and
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                      set the hearing for the appeal for December 20, 2012.
24

25                4. Counsel for the United States Lee S. Bickley is unavailable on December 20,

26                    2012. Consequently, the United States requests that the hearing on the

27                    defendant’s appeal be moved to January 7, 2013, at 9:30 a.m. The defendant does

28                    not object to this request.

29      Stipulation and [Proposed] Order Concerning Appeal   1
        Hearing
                Case 2:11-cr-00504-WBS Document 96 Filed 12/18/12 Page 2 of 2


 1 IT IS SO STIPULATED.

 2
     DATED:           December 10, 2012
 3

 4                                                               /s/ Lee S. Bickley____________
                                                                 Lee S. Bickley
 5                                                               Assistant United States Attorney

 6
     DATED:           December 10, 2012
 7

 8                                                               /s/ Jerome Kaplan_____________
                                                                 Jerome Kaplan
 9                                                               Counsel for Defendant Jewel Hinkles

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11                                                       ORDER

12
     IT IS SO FOUND AND ORDERED this _17th day of December, 2012 that the hearing on
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     Defendant’s Appeal of the Magistrate Order entered on December 6, 2012, revoking defendant’s
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     pre-trial release is now set for January 7, 2013, at 9:30 a.m.
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29      Stipulation and [Proposed] Order Concerning Appeal   2
        Hearing
